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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


BART BOKANOSKI                                         :      CIVIL ACTION NO.
ROBERT DIZINNO, and                                    :      3:15-cv-00021-JCH
JEREMY ANDERSON,                                       :
on behalf of themselves and all                        :
others similarly situated,                             :
                                                       :
       PLAINTIFFS,                                     :
                                                       :
v.                                                     :
                                                       :
LEPAGE BAKERIES PARK ST., LLC,                         :
C.K. SALES CO., LLC,                                   :
                                                       :
       DEFENDANTS.                                     :      January 13, 2016

       PLAINTIFFS’ MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

       Plaintiffs Bart Bokanoski, Robert DiZinno, and Jeremy Anderson (collectively

“Plaintiffs”), on behalf of themselves and all others similarly situated, by their attorneys,

hereby move pursuant to Local Rule 7(b) and Fed. R. Civ. P. 15(a) for permission to file an

Amended Complaint. The proposed Amended Complaint is attached hereto as Exhibit A.

       Defendants recently filed a Motion for Judgment seeking to dismiss Counts One, Three

and Four of the Complaint. As explained in the parties’ recent telephonic status conference with

the Court, the Plaintiffs agree that Count One should be removed from the Complaint. The Parties

also apparently agree that Count Two should survive at this time. Further, Plaintiffs agree with

Defendants that Count III, as presently constituted, is not appropriate and should also be removed

from the Complaint. The only point of disagreement centers on Count Four, Plaintiffs’ claim for

unjust enrichment. Plaintiffs do not agree with all of Defendants’ arguments as to Count Four,

and do not believe that it should be dismissed. Plaintiffs agree, however, that the claims asserted

therein can be more elegantly pleaded. In light of the Plaintiffs’ substantial agreement with
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portions of Defendants’ Motion for Judgment, Plaintiffs have prepared an amended complaint with

two Counts.    The proposed amended pleading retains the original second count for illegal

withholding of wages, which Defendants have not challenged at this time. The amendment, deletes

Counts One and Three, and re-pleads the allegations of Plaintiffs’ unjust enrichment claim (Count

Four).. New Count One asserts claims under C.G.S. Section 31-72 for wages withheld without

authority, including deductions for such things as insurance as well as weekly payments for the

route fee itself. New Count Two asserts claims under the common law of unjust enrichment for

those route payments, including down payments, that were not made as true withholdings of

wages” actionable under 31-72 and 31-71e, but instead were made as direct payments from the

plaintiffs. New Count Two also includes claims under unjust enrichment for Defendants’ shifting

business costs on Plaintiffs.

        Plaintiffs believe that this new amended complaint addresses many of the concerns raised

by Defendants in their Motion for Judgment, and presents any remaining issues to the Court in a

more concise way. Plaintiffs have asked Defendants to consent to this motion to amend and asked

them to refile their arguments either as a renewed Motion for Judgment, or incorporated into a

Motion for Summary Judgment filed at the close of discovery. Defendants have declined this

invitation to consent to this motion. Plaintiffs believe that if the proposed amendment is permitted,

it will moot most of the issues raised in Defendants’ initial Motion for Judgment. Nevertheless,

Plaintiffs remain prepared to oppose those portions of Defendants’ Motion to which they do not

agree by the Response deadline of January 18, 2016 in the event that the Court does not permit the

proposed amendment before that date.

       This amendment will not prejudice Defendants. Discovery is still open and is ongoing.

No depositions have been taken yet. This amendment does not add any new allegations. In fact,



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it reduces a four count complaint to a two count complaint and consolidates the allegations of fact

and law into a more concise pleading.

       As discussed above, Defendants do not consent to this motion.


                                                     Plaintiffs, Bart Bokanoski, Robert Dizinno
                                                     and Jeremy Anderson, on behalf of
                                                     themselves and all others similarly situated



                                                     By: /s/ Richard Hayber
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                                        CERTIFICATION


       I hereby certify that on January 13, 2016, the foregoing was filed electronically and served

by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email to

all parties by operation of the court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this document

through the court’s CM/ECF System.



                                               /s/ Richard E. Hayber
                                               Richard E. Hayber




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